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                               UNITED STATES DISTRICT COURT

            NORTHERN DISTRICT OF CALIFORNIA - SAN FRANCISCO DIVISION


MARILYN COUSART; NICHOLAS GUILAK; PAUL                Case No. 3:23-cv-04557-VC
MARTIN; BREONNA ROBERTS; CAROLINA
BARCOS; JAIR PAZ; ALESSANDRO DE LA                    OPENAI DEFENDANTS’ NOTICE OF
TORRE; VLADISSLAV VASSILEV; SEAN                      MOTION AND MOTION TO DISMISS FIRST
ALEXANDER JOHNSON; JENISE MCNEAL; N.B, a              AMENDED CLASS ACTION COMPLAINT
minor; LORENA MARTINEZ; JOHN HAGAN,
individually, and on behalf of all others similarly   Date: April 11, 2024
situated,                                             Time: 10:00 a.m.
                                                      Dept: Courtroom 4, 17th Floor
                 Plaintiffs,                          Judge: Hon. Vince Chhabria

      v.                                              Date Action Filed: September 5, 2023
                                                      Trial Date: None
OPENAI LP, OPENAI INCORPORATED, OPENAI
GP, LLC, OPENAI STARTUP FUND I, LP, OPENAI
STARTUP FUND GP I, LLC, OPENAI STARTUP
FUND MANAGEMENT LLC, MICROSOFT
CORPORATION and DOES 1 through 20, inclusive,

                 Defendants.




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                                 NOTICE OF MOTION AND MOTION

        PLEASE TAKE NOTICE that on April 11, 2024 at 10:00 a.m., before the Honorable Vince

Chhabria, the OpenAI Defendants (“OpenAI”) 1 will, and hereby do, move this Court for an order

dismissing Plaintiffs’ First Amended Class Action Complaint (“Amended Complaint”) pursuant to

Federal Rules of Civil Procedure 8 and 12(b)(6).

                               STATEMENT OF REQUESTED RELIEF

        OpenAI respectfully requests that the Court dismiss the Amended Complaint in full and with

prejudice for failure to meet the minimum pleading standards of Rule 8 and failure to state a claim upon

which relief can be granted under Rule 12(b)(6).

                         MEMORANDUM OF POINTS AND AUTHORITIES

I.      INTRODUCTION

        OpenAI’s mission is to ensure that generative artificial intelligence (“AI”) benefits humanity

through safe and responsible development of AI technology. OpenAI technologies do not target users for

advertising or marketing, and intentionally focus on protecting individuals’ consumer and privacy rights.

OpenAI’s products are already providing benefits to society, such as combating fraud, providing language

translations, facilitating scientific research, helping with transcriptions, and assisting with everyday tasks. 2

As Plaintiffs themselves allege, OpenAI’s products “have the potential to do much good in the world, like

aiding life-saving scientific research and ushering in discoveries that can improve the lives of everyday

Americans.”     A.C. ¶ 5; see also Andrew Chow, Why Bill Gates Believes Generative AI Will Be

‘Revolutionary,’ Time (Mar. 21, 2023), https://time.com/6264801/bill-gates-ai (forecasting that



1
 The OpenAI Defendants are OpenAI OpCo, LLC, OpenAI Incorporated, OpenAI GP, LLC, OpenAI
Startup Fund I, LP, OpenAI Startup Fund GP I, LLC, and OpenAI Startup Fund Management LLC.
Defendant OpenAI OpCo, LLC has changed its name from Defendant OpenAI LP.
2
    35 Ways Real People Are Using A.I. Right Now, N.Y. Times                               (Apr.    14,   2023),
https://www.nytimes.com/interactive/2023/04/14/upshot/up-ai-uses.html.
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technologies like OpenAI’s may help to remedy “some of the world’s worst inequities,” from unequal

access to health care, to global educational disparities and beyond).

       OpenAI offers its most popular AI service, ChatGPT, at no cost and ad-free. ChatGPT is an online

chat interface that allows users to interact with AI models in a conversational manner by generating text

responses to user queries. It was released to the public on November 30, 2022 as a free research preview

based on a large language model (“LLM”) called GPT-3.5. 3 Just like someone who reads a book and then

disposes of it, or a person who learns how to play tennis from a tennis coach and then plays without the

coach’s assistance, LLMs—like the LLM powering ChatGPT—“learn” language through exposure

(called “training”) to large amounts of text from primarily public sources. Once trained on sufficiently

large volumes of data, LLMs develop the ability to use the building blocks of language (called “tokens”)

to provide text outputs in response to user queries, with the potentially extraordinary benefits to society

described above.

       Plaintiffs are individuals who claim to use OpenAI services and “engage[] with a variety of

websites and social media platforms.” A.C. ¶¶ 30-31; see also id. ¶¶ 19-135 (describing Plaintiffs’

purported engagement). Their Amended Complaint speculates that generative AI technology writ large

will wreak apocalyptic harm, from allegedly mutating malware to autonomous weapons to civilizational

collapse. Much of the 198-page Amended Complaint is untethered to any legal theory—or even to

OpenAI’s products—rendering Plaintiffs’ actual legal theories difficult to discern. However, they appear

to allege that OpenAI misappropriated their personal information and used it to train AI products,

including ChatGPT, through two primary means: (1) “scraping” publicly available information from the

Internet; and (2) “intercepting” user data through ChatGPT and the ChatGPT API that OpenAI makes


3
 OpenAI has since released ChatGPT Plus (offering additional features and functions), and ChatGPT
Enterprise (for businesses). OpenAI also offers an Application Programming Interface (“API”) for
developers to integrate the capabilities and benefits of OpenAI’s models into their own websites and
applications.
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available to third-party developers.

       Despite (indeed, because of) the Amended Complaint’s verbosity, it violates Rule 8 by failing to

plead even the most basic facts of Plaintiffs’ claims, including what personal information (if any) was

allegedly misappropriated, and by improperly relying upon group pleading. And while Plaintiffs contest

OpenAI’s purported use of data allegedly acquired through ChatGPT, they acknowledge that OpenAI’s

Terms of Use (“Terms”) disclose its data use practices and allow users options to opt out of training when

using ChatGPT (an opt-out feature that no Plaintiff alleges they used).

       Plaintiffs’ efforts to conjure a bespoke misappropriation theory based on OpenAI’s alleged use of

publicly available online information and user data fails under both Federal Rules of Civil Procedure 8

and 12(b)(6). Further, Plaintiffs’ novel theory that companies cannot use publicly available online

information, or information provided by their own users, to train and improve their products is legally

baseless, and none of the 11 asserted claims provide a remedy for such conduct. Thus, each of Plaintiffs’

claims must be dismissed:

       Wiretapping. Plaintiffs allege violations of federal and California wiretapping law, but fail to

allege the required interception. Even had done so, their federal claim would still fail because at least one

party to each allegedly intercepted communication (OpenAI, Microsoft, or a third-party developer)

consented to the interception.

       California Comprehensive Computer Data Access and Fraud Act (“CDAFA”). Plaintiffs

cannot recover under the CDAFA for OpenAI’s alleged misappropriation of their data because they fail

to allege OpenAI “accessed” their computers, as required, and they fail to plead any CDAFA loss, such

as the costs of investigating and remediating hacking.

       California Unfair Competition Law (“UCL”). Plaintiffs’ UCL claim fails because they have

not alleged the lost money or property required for statutory standing, or that OpenAI engaged in any

unlawful, unfair, or fraudulent conduct.

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       Illinois Claims. The Illinois state statutory claims asserted by Plaintiff Breonna Roberts—the

only alleged Illinois resident—are foreclosed by the California choice-of-law clause in OpenAI’s Terms

and because they do not apply extraterritorially to conduct outside Illinois. Even if Illinois law did apply,

her claims fail because she has not alleged the required elements of each statute.

       Negligence. Plaintiffs’ negligence claim fails because they have not alleged either a cognizable

duty or damages.

       Privacy. Plaintiffs’ invasion of privacy claim fails because they have not identified the supposedly

private information at issue, instead admitting that the allegedly misappropriated information was publicly

available. As such, they cannot allege either a reasonable expectation of privacy or the egregious breach

of social norms, as required to state the claim.

       Conversion. Plaintiffs’ conversion claim fails because they lack the required property interest in

their personal information and have not pled that their personal information was converted by a wrongful

act that caused them harm.

       Unjust Enrichment. Plaintiffs’ unjust enrichment claim fails because they do not allege facts

supporting recovery in quasi-contract.

       Supersession. Finally, Plaintiffs’ UCL, negligence, conversion, and unjust enrichment claims are

superseded by the California Uniform Trade Secrets Act because they are premised on the

misappropriation of confidential information.

       The Amended Complaint should be dismissed in full and with prejudice.

II.    BACKGROUND

       Plaintiffs speculate that OpenAI collected their “personal data” from publicly available “online

applications and platforms” to train its products. See A.C. ¶¶ 26, 37, 49, 58, 68, 78, 88, 97, 104, 110, 118,




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125, 133. Plaintiffs have sued six OpenAI entities 4 and Microsoft (together, “Defendants”), alleging that

the latter is OpenAI’s “largest investor and largest service provider,” and “exerts considerable control”

over OpenAI. Id. ¶ 144. The Amended Complaint reads more as an anti-AI polemic than a distillation of

Plaintiffs’ claims against Defendants, analogizing generative AI to nuclear warfare and alleging that it

may prompt a “civilizational collapse” and elimination of the “human species.” Id. ¶¶ 2, 9, 11.

       As a result, Plaintiffs’ actual claims are unclear. But they appear to speculate that Defendants

collected their personal information for use in developing AI services, including ChatGPT. They

challenge Defendants’ use of two alleged data sources: (1) scraping publicly available data from “the

entire internet”; and (2) intercepting data from Defendants’ AI services. See id. ¶¶ 16, 184, 376, 453. Yet

the Amended Complaint does not identify any of Plaintiffs’ personal information that Defendants

allegedly collected or used, and the Amended Complaint makes clear that Plaintiffs simply guess that

OpenAI collected their data. See, e.g., id. ¶ 18 (seeking as relief information about the source of OAI’s

data collection, “including where and from whom”).

       Plaintiffs assert four categories of claims. First, they allege that Defendants intercept data and

wrongfully access user devices in violation of wiretapping laws—the Electronic Communications Privacy

Act (“ECPA”) and the California Invasion of Privacy Act (“CIPA”)—and the CDAFA (Counts 1-3).

Second, they allege that Defendants have violated California and Illinois consumer protection and unfair

competition law (Counts 4-7) and acted negligently (Count 8) in scraping and intercepting Plaintiffs’ data.

Third, they allege that Defendants’ conduct violated their reasonable expectation of privacy in their data,

giving rise to liability for invasion of privacy (Count 9). And finally, they allege that Defendants have

improperly profited from scraping and intercepting Plaintiffs’ data, rendering Defendants liable for



4
 The Amended Complaint names six OpenAI entities as Defendants, but it does not explain whether and
how each entity participated in the alleged conduct apart from boilerplate allegations concerning “control”
and supposed “aware[ness].” A.C. ¶¶ 136-141.
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conversion and unjust enrichment (Counts 10-11).

       This is Plaintiffs’ third attempt to plead their claims. On June 28, 2023, their counsel, the Clarkson

Law Firm, filed a class action complaint, P.M., et al. v. OpenAI LP, et al., No. 3:23-cv-03199, which was

assigned to Judge Trina Thompson. On September 5, 2023, this action was filed by Morgan & Morgan.

ECF No. 1. This action presented 11 of the same putative claims as P.M., and the two complaints

contained large swaths of identical allegations. See Declaration of Bethany C. Lobo (“Lobo Decl.”) ¶ 3. 5

On September 14, 2023, this action was assigned to Judge Vince Chhabria. ECF No. 12. One day later,

the Clarkson Law Firm voluntarily dismissed P.M. Lobo Decl. ¶ 5. On December 4, 2023, OpenAI and

Microsoft filed separate motions to dismiss. ECF Nos. 39-41. Plaintiffs filed an Amended Complaint

rather than oppose the motions. ECF No. 45. Revealingly, both the Clarkson Law Firm and Morgan &

Morgan now appear on the Amended Complaint as Plaintiffs’ counsel, and the Amended Complaint

includes five plaintiffs originally named in the voluntarily dismissed P.M. Action. Lobo Decl. ¶ 6.

III.   ARGUMENT

       A.      The Amended Complaint Violates Rule 8.

       The Amended Complaint—which spans 198 pages and includes 399 footnotes, most referencing

third-party commentary on AI—still fails to meet Rule 8’s pleading requirements. See Fed. R. Civ.

P. 8(a)(2), 8(d)(1) (requiring allegations to be “simple, concise, and direct”). The hundreds of paragraphs

added to the Complaint only further obfuscate OpenAI’s supposed privacy violations.

       Specifically, Plaintiffs fail to plead (1) the specific “personal information” that OpenAI allegedly

scraped or intercepted; (2) when and how OpenAI acquired their data; (3) whether OpenAI disclosed their

data to any third parties (and if so, which ones); and (4) how their privacy rights were violated by OpenAI’s

alleged acquisition of data that they publicly posted on the Internet. Indeed, they appear to not even know


5
 Despite the overlapping allegations, none of the plaintiffs filed the required Notice of Related Cases
under Civil L.R. 3-12.
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what non-public personal information of theirs (if any) OpenAI allegedly misused. See Section II, supra.

Instead, the Amended Complaint broadly alleges that OpenAI “scraped” and “stole” the contents of

“nearly the entire internet” (see A.C. ¶¶ 647(a)), and that “all” of the named Plaintiffs’ “information and

data” from “various websites” and “across wide swath[s] of online applications” were used to train

OpenAI’s models (see, e.g., A.C. ¶¶ 21, 37, 49, 54, 68, 78, 88, 97). Such generic allegations are

insufficient to maintain a claim. See Martin v. Sephora USA, Inc., 2023 WL 2717636, at *6 (E.D. Cal.

Mar. 30, 2023) (dismissing under Rule 8 where plaintiff alleged interception of personal information

“sometime ‘within the past year’” and speculated that there were “thousands” of class members “with

innumerable visits to Defendant’s website ‘within the past year’”), report and recommendation adopted,

2023 WL 3061957 (E.D. Cal. Apr. 24, 2023). 6

       Plaintiffs include numerous “Factual Background” allegations that read as a policy screed without

any connection to their 11 claims. For instance, the Amended Complaint includes 20 pages of allegations

regarding the “existential threat” posed by AI technology writ large. A.C. ¶¶ 275-358 (alleging that AI

technology will “start[] world wars with disinformation and the unchecked capacity for autonomous

weaponry” and expressing concern that “world powers currently leveraging AI” risk causing “irreversible

damage to humanity and society”). The Amended Complaint also adds voluminous allegations about

intellectual property rights that are irrelevant to Plaintiffs’ privacy claims. See A.C. ¶¶ 359-368 (collecting

examples of online “Outrage[]” in the “Copyright Space” as to “AI Development Writ Large”). 7


6
  The Amended Complaint’s generic nature is further revealed by its allegation that non-party Google was
the wrongdoer. See A.C. ¶ 606 (alleging “Google’s deliberate and admittedly purposeful scheme”
facilitated interception of Plaintiffs’ communications) (emphasis added). Notably, this allegation remains
unchanged from Plaintiffs’ original complaint, even after OpenAI flagged this error in its prior motion to
dismiss. See Compl. ¶ 335.
7
  The Amended Complaint cites dozens of online articles and commentary in nearly 400 footnotes, most
of which are unconnected to Plaintiffs’ claims and many of which pre-date OpenAI’s public release of
ChatGPT. See, e.g., A.C. ¶ 317 n.196 (summarizing 2018 article on “Cambridge Analytica Scandal”
concerning targeted advertising of Facebook users); id. ¶ 331 nn. 221, 223 (citing articles about
“ransomware attacks” on healthcare providers prior to ChatGPT’s release).
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       Finally, the Amended Complaint improperly fails to distinguish between “Defendants,” relying on

group pleading against Microsoft and six separate OpenAI entities and referring generally to “Defendants’

conduct” on 29 separate occasions. See, e.g., A.C. ¶¶ 149, 338, 461, 648, 453 (p. 188), 730; Nowak v.

Xapo, Inc., 2020 WL 6822888, at *2 (N.D. Cal. Nov. 20, 2020) (dismissing complaint that “lump[ed]

together defendants . . . without distinguishing what each entity did”). 8

       Thus, the Amended Complaint should be dismissed under Rule 8 for failing to identify the factual

bases clearly and concisely for Plaintiffs’ allegations against the OpenAI Defendants, while containing

voluminous “irrelevant facts, political argument, and legal argument.” McHenry v. Renne, 84 F.3d 1172,

1174, 1178-80 (9th Cir. 1996) (complaint violates Rule 8 by including these items rather than “short and

plain” statement of claims); see Cafasso v. Gen. Dynamics C4 Sys., Inc., 637 F.3d 1047, 1058-59 (9th Cir.

2011) (collecting Ninth Circuit cases upholding Rule 8 dismissals). 9

       B.      Plaintiffs Have Not Stated a Claim for Relief Based on Data Interception or Access to
               User Devices.

               1.      ECPA (Count 1)

       Plaintiffs allege ECPA violations based on (1) Defendants’ interception of communications on

third-party platforms integrating the ChatGPT API (A.C. ¶¶ 567-576, 614-622); (2) Microsoft’s

interception of user communications with ChatGPT (id. ¶¶ 577-586, 623-633); and (3) OpenAI’s

interception of communications on Microsoft platforms integrating ChatGPT (id. ¶¶ 587-596, 634-643).

These theories fail for the following independent reasons.

       First, Plaintiffs cannot state a claim because ECPA “is a one-party consent statute,” Katz-Lacabe

v. Oracle America, Inc., 2023 WL 2838118, at *10 (N.D. Cal. Apr. 6, 2023), and Plaintiffs plead that at



8
  OpenAI incorporates by reference Microsoft’s additional arguments concerning Plaintiffs’ improper
group pleading. See Msft. Mot. to Dismiss A.C. § IV.B.
9
  OpenAI incorporates by reference Microsoft’s request that the Court dismiss Plaintiffs’ frivolous
injunctive relief demand. See Msft. Mot. to Dismiss A.C. § IV.E.
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least one party to each challenged communication consented to each alleged interception. Plaintiffs’ first

theory, interception of ChatGPT API communications, fails because companies incorporating third-party

software on their websites (i.e., platforms integrating the ChatGPT API) consented to the alleged

interception. See, e.g., id. (commercial websites consented to Oracle’s alleged interceptions by deploying

Oracle tools on their websites). Similarly, Plaintiffs’ second and third theories fail because they do not

(and cannot) allege the absence of one-party consent—i.e., OpenAI consented to any alleged interception

by Microsoft of OpenAI users’ communications with ChatGPT, and Microsoft consented to any alleged

interception by OpenAI of Microsoft users’ communications with platforms integrating ChatGPT. One-

party consent alone defeats the ECPA claim.

       Second, Plaintiffs’ ECPA claim fails because they do not allege how OpenAI allegedly intercepted

their communications during transmission. See Konop v. Hawaiian Airlines, Inc., 302 F.3d 868, 878 (9th

Cir. 2002) (for ECPA “intercept[ion],” content “must be acquired during transmission, not while it is in

electronic storage”). Plaintiffs’ conclusory allegations referencing interception while “in transit” and

“real-time access” are insufficient. 10 See A.C. ¶¶ 574, 584, 589, 594, 616, 620, 630, 636; In re Vizio, Inc.,

Consumer Priv. Litig., 238 F. Supp. 3d 1204, 1228 (C.D. Cal. 2017) (dismissing ECPA claim premised

on conclusory allegations that Vizio “intercepted [plaintiffs’] electronic communications ‘during

transmission’” and the “data collection occurs ‘in real time’”).

       Third, Plaintiffs’ first theory of ECPA liability fails for the additional reason that they do not allege

that any of their personal information was intercepted through the ChatGPT API. While they allege that

Defendants intercepted “communications which occurred on various applications, platforms, websites

which integrate ChatGPT technology (i.e., Stripe, Snapchat, etc.)” (A.C. ¶ 567), the only Plaintiff who



10
  Alleged scraping cannot be a basis for ECPA liability (contra A.C. ¶ 565), because an ECPA defendant’s
interception must occur contemporaneously with the plaintiff’s transmission of data to a third-party site,
and scraping necessarily occurs after transmission.
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even alleges using ChatGPT API-powered features of third-party websites is Plaintiff Jair Paz. See id. ¶

75 (Plaintiff Paz alleging that he used Snapchat’s “MyAI” feature “a few times”). But Plaintiff Paz claims

to have done so only “[r]ecently” and the Amended Complaint acknowledges that OpenAI has not used

any data from ChatGPT API users since at least May 2023. See id. ¶ 218 & n.104. Given these allegations,

Plaintiffs have not adequately and plausibly pled that their personal information was intercepted through

the ChatGPT API. See Quigley v. Yelp, Inc., 2018 WL 7204066, at *4 (N.D. Cal. Jan. 22, 2018)

(dismissing claim for failure to allege when or how interception occurred). 11

               2.     CIPA (Count 3)

       Because ECPA and CIPA each prohibit the unauthorized interception of communications, the

statutes’ overlapping elements and defenses are analyzed jointly. See, e.g., Brodsky v. Apple Inc., 445 F.

Supp. 3d 110, 127 (N.D. Cal. 2020) (CIPA analysis “is the same as that under the Federal Wiretap Act”)

(citation omitted); Pena v. GameStop, Inc., 2023 WL 3170047, at *3 (S.D. Cal. Apr. 27, 2023) (same).

Thus, like the ECPA claim, the CIPA claim fails because Plaintiffs do not allege (1) how their electronic

communications were intercepted during transmission, see Martin, 2023 WL 2717636, at *11 (dismissing

CIPA claim because, inter alia, “allegations that [plaintiff’s] communications were intercepted by a third

party company while ‘in transit’” were conclusory); or (2) that they used the ChatGPT API. See A.C.

¶¶ 616, 619, 625, 636 (same conclusory allegations as ECPA claim that Defendants had “real-time access”

to user activity and interception occurred “simultaneously”); id. ¶¶ 75, 218 & n.104 (same implausible

allegations as ECPA claim that Plaintiff Paz’s personal information was intercepted through Snapchat’s

“MyAI” feature). 12


11
  OpenAI joins in Microsoft’s concurrently filed motion to dismiss, which states additional reasons that
the second theory (Microsoft’s interception of OpenAI users’ communications) fails. See Msft. Mot. to
Dismiss A.C. § IV.C.
12
  To the extent the Court declines to dismiss Plaintiffs’ ECPA and CIPA claims in full, it should dismiss
both claims to the extent they are “predicated on non-content information,” i.e., “record information . . .
such as the name, address and subscriber number or identity of a . . . customer.” Graham v. Noom, Inc.,
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        The CIPA claim also fails for other reasons. First, Plaintiffs’ § 631(a) claim should be dismissed

because it merely block quotes the statute without identifying the allegedly violated subsections. See A.C.

¶ 611; Martin, 2023 WL 2717636, at *5-6 (dismissing claim because “impermissibly conclusory” to

merely “block quote[] § 631(a)”). Second, Plaintiffs fail to plead a violation of § 632(a), which prohibits

eavesdropping on “confidential communication[s].” A.C. ¶ 600. Internet communications, like those at

issue here, “do not reasonably give rise to th[e] expectation [of confidentiality].” Revitch v. New

Moosejaw, LLC, 2019 WL 5485330, at *3 (N.D. Cal. Oct. 23, 2019) (Chhabria, J.) (dismissing § 632

claim based on software provider’s data collection of users’ interactions with website); Campbell v.

Facebook Inc., 77 F. Supp. 3d 836, 848-49 (N.D. Cal. 2014) (dismissing § 632 claim; users’ Facebook

messages were not “confidential communication[s]”). Third, Plaintiffs fail to plead any injury as a result

of OpenAI’s conduct. See Graham v. Noom, Inc., 2021 WL 3602215, at *1 (N.D. Cal. Aug. 13, 2021)

(dismissing CIPA claim for failure to allege, inter alia, “injury” necessary to maintain “a private right of

action under the statute”). 13

                3.      CDAFA (Count 2)

        Plaintiffs’ CDAFA claim fails for two reasons. First, Plaintiffs fail to allege that OpenAI accessed

their computers. See Cal. Penal Code § 502(c)(2) (imposing liability on any person who “[k]nowingly

accesses and without permission takes, copies, or makes use of any data from a computer, computer

system, or computer network”). The CDAFA is an anti-hacking statute that “was originally enacted to

combat ‘computer crime.’” Heiting v. Taro Pharms. USA, Inc., 2023 WL 9319049, at *6 (C.D. Cal. Dec.


533 F. Supp. 3d 823, 833 (N.D. Cal. 2021) (internal quotations and citation omitted); see A.C. ¶ 16
(alleging “private information” includes record information such as name, contact details, login
credentials, IP addresses and locations, etc.).
13
   To the extent Plaintiffs allege that OpenAI is liable for aiding and abetting Microsoft’s alleged
interception of ChatGPT communications (see A.C. ¶ 632), that theory fails for the reasons stated in
Microsoft’s motion to dismiss. See Msft. Mot. to Dismiss A.C. § IV.C; see also Martin, 2023 WL
2717636, at *12 (dismissing CIPA derivative liability claim where primary CIPA claim against interceptor
failed).
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26, 2023) (quoting Cal. Penal Code § 502(a)). It defines “access” accordingly: “to gain entry to, instruct,

cause input to, cause output from, cause data processing with, or communicate with, the logical,

arithmetical, or memory function resources of a computer, computer system, or computer network.” Cal.

Penal Code § 502(b)(1). Here, Plaintiffs do not allege, as required, that OpenAI gained entry to or caused

output from their computers without permission. And their generalized allegations that OpenAI scraped

Internet content are insufficient. See Heiting, 2023 WL 9319049, at *6 (dismissing CDAFA claim based

on alleged misappropriation of information plaintiff entered into chatbot on defendant’s website because,

inter alia, there were no allegations that defendant “implanted anything on her computer”); see also Meta

Platforms, Inc. v. BrandTotal Ltd., 605 F. Supp. 3d 1218, 1260-66 (N.D. Cal. 2022) (software logging

user activities during use of defendant’s website does not violate CDAFA). 14

       Second, Plaintiffs’ CDAFA claim independently fails because Plaintiffs do not allege the requisite

“damage or loss.” Cal. Penal Code § 502(e)(1). “The CDAFA provides that only an individual who has

‘suffer[ed] damage or loss by reason of a violation’ of the statute may bring a civil action.” Cottle v. Plaid

Inc., 536 F. Supp. 3d 461, 487 (N.D. Cal. 2021) (quoting Cal. Penal Code. § 502(e)(1)). These damages

include “reasonabl[e] and necessar[y]” expenses incurred “to verify that a computer system, computer

network, computer program, or data was or was not altered, damaged, or deleted by the access.” Cal.

Penal Code § 502(e)(1); see also Pratt v. Higgins, 2023 WL 4564551, at *9 (N.D. Cal. July 17, 2023)

(CDAFA “loss” “has been defined to encompass costs related to fixing a computer, lost revenue, or other

consequential damages incurred due to an interruption of computer services”).

       Plaintiffs do not identify any “damage or loss” that they incurred due to OpenAI’s alleged CDAFA


14
  Plaintiffs attempt to plead around the public nature of the allegedly scraped information by alleging that
“Defendants have scraped private websites with password protection and restricted access.” A.C. ¶ 197.
Plaintiffs plead no facts supporting this allegation (a notable omission given their voluminous pleading)
and, tellingly, never allege that OpenAI scraped non-public content or information that was actually
password-protected or otherwise restricted. The websites listed (e.g., Facebook, Instagram, Walmart, id.
¶¶ 197, 212) have extensive publicly-available content that can be accessed without an account.
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violation. They cannot state a claim by alleging that they lost (1) the rights “to control their own data”

and “to protection of the data”; and (2) “the value of their data.” Cottle, 536 F. Supp. 3d at 488 (dismissing

claim for failure to plead “‘damage or loss’ due to the alleged Section 502 violations”); Pratt, 2023 WL

4564551, at *9 (dismissing claim because “accessing communications with counsel, personal notes, and

medical information” did not “g[i]ve rise to any cognizable loss”).

       C.      Plaintiffs Cannot State an Unfair Competition, Consumer Protection, or Negligence
               Claim Based on Data Scraping or Interception.

               1.      UCL (Count 4)

       A plaintiff asserting a UCL claim must allege a “business act or practice” that is unlawful, unfair,

or fraudulent. Kearns v. Ford Motor Co., 567 F.3d 1120, 1127 (9th Cir. 2009). Plaintiffs have not stated

a UCL claim under any prong.

       First, Plaintiffs lack UCL statutory standing, which requires them to plead “economic injury”—

i.e., that they “lost money or property as a result of . . . unfair competition.” See Cal. Bus. & Prof. Code

§ 17204 (emphasis added); Davis v. RiverSource Life Ins. Co., 240 F. Supp. 3d 1011, 1017 (N.D. Cal.

2017) (required “economic injury” must be “caused by” the UCL violation) (emphasis added; citation

omitted).   The Amended Complaint does not plead how Plaintiffs “lost money or property.”

Misappropriation of personal information is not an “economic injury,” particularly for plaintiffs who do

not sell their personal information. See Katz-Lacabe, 2023 WL 2838118, at *8 (“weight of the authority”

holds that “mere misappropriation of personal information” is not economic injury) (internal quotations

omitted); Cappello v. Walmart, Inc., 2019 WL 11687705, at *4 (N.D. Cal. Apr. 5, 2019) (“Plaintiffs must

allege more than a loss of personal information to establish standing under the UCL.”); Archer v. United

Rentals, Inc., 195 Cal. App. 4th 807, 816 (2011) (dismissing UCL invasion of privacy claim because

“plaintiffs have failed to demonstrate how . . . unlawful collection and recordation of personal

identification information . . . translates into a loss of money or property”). And while the Amended

Complaint references a handful of obscure—in some cases decade-old—articles and studies purporting to
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place a dollar value on consumer data (A.C. ¶¶ 407-413 & nn.298-306), no Plaintiff alleges that they sell

or tried to sell their personal information, let alone that OpenAI’s supposed conduct has precluded any

such sales. See Gardiner v. Walmart, Inc., 2021 WL 4992539, at *3 (N.D. Cal. July 28, 2021) (dismissing

UCL claim because plaintiff failed to “establish the existence of a market for the personal information

and an impairment of the ability to participate in that market”) (emphasis added).

       Second, Plaintiffs have not pled a basis for restitution. See Silvercrest Realty, Inc. v. Great Am.

E&S Ins. Co., 2012 WL 13028094, at *2 (C.D. Cal. Apr. 4, 2012) (“Remedies under the UCL are limited

to restitution and injunctive relief, and do not include damages.”). Plaintiffs do not allege that OpenAI

took any money from them. Nor do they identify any property that could be returned to them. To the

extent that Plaintiffs seek damages other than restitution or injunctive relief (e.g., disgorgement (A.C. ¶

709)), such damages are not available under the UCL. Korea Supply Co. v. Lockheed Martin Corp., 29

Cal. 4th 1134, 1144–48 (2003).

       Third, Plaintiffs otherwise fail to state a claim under any UCL prong.

       Unlawful. Plaintiffs’ unlawful prong claim is based on ECPA, CIPA, and CDAFA; the California

Consumer Privacy Act (“CCPA”); the California Online Privacy Protection Act (“CalOPPA”); other

statutes referenced in passing; contract claims; and “other tort claims stated in this lawsuit.” A.C.

¶¶ 647-672. Because Plaintiffs have not stated their ECPA, CIPA, and CDAFA claims, their derivative

UCL claim also fails. See Section III.B, supra; Aleksick v. 7-Eleven, Inc., 205 Cal. App. 4th 1176, 1185

(2012) (“When a statutory claim fails, a derivative UCL claim also fails.”). Further, a CCPA violation

cannot be a basis for a UCL claim. See Cal. Civ. Code § 1798.150(c) (“Nothing in [the CCPA] shall be

interpreted to serve as the basis for a private right of action under any other law.”); Silver v. Stripe Inc.,

2021 WL 3191752, at *7 (N.D. Cal. July 28, 2021) (plaintiff could not allege CCPA as predicate UCL

violation). To the extent Plaintiffs allege other statutory violations (A.C. ¶ 649), their failure to describe

how OpenAI allegedly violates those statutes is fatal. See Silver, 2021 WL 3191752, at *7 (dismissing

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UCL unlawful claim where complaint did “inadequate job of explaining the specific violations of those

statutes”). 15 And Plaintiffs’ references to breach of contract, interference with contract, and “other tort

claims” are similarly deficient. See Shroyer v. New Cingular Wireless Servs., Inc., 622 F.3d 1035, 1044

(9th Cir. 2010) (common law violations, including breach of contract, insufficient for UCL unlawful prong

claim); Devore v. H&R Block Tax Servs. LLC, 2018 WL 1942384, at *8 n.5 (C.D. Cal. Mar. 29, 2018)

(common law interference with contractual relations claim cannot be UCL unlawful prong predicate act). 16

       Fraudulent. Plaintiffs allege that Defendants made certain “representations and omissions”—

apparently about “applicable laws and societal expectations about children’s privacy.” A.C. ¶¶ 676-689.

For example, Plaintiffs allege Defendants “fail[ed] to disclose that they are tracking, profiling, and

targeting [] children” (id. ¶ 687), yet do not explain the “who, what, when, where, and how” of Defendants’

supposed tracking, profiling, and targeting of children, or what was false or misleading about the


15
   Plaintiffs also allege that “Defendants failed to register as data brokers under California law as
required.” A.C. ¶ 647(b). But OpenAI’s alleged use of data scraped or inputted into its own services does
not render it a data broker under California law. Nowhere does the Amended Complaint allege, as
required, that OpenAI “knowingly collects and sells to third parties the personal information of a consumer
with whom [OpenAI] does not have a direct relationship.” See Cal. Civ. Code § 1798.99.80(c). Nor does
the Amended Complaint implicate “personal information” under the statute, which excludes “publicly
available information.” Cal. Civ. Code §§ 1798.99.80(c), 1798.140(v)(2). Plaintiffs’ allegations
concerning CalOPPA fare no better. See A.C. ¶¶ 663-667. No Plaintiff alleges they are a “consumer” as
required by the statute. Compare Cal. Bus. & Prof. Code § 22577(d) (defining “consumer” as “any
individual who seeks or acquires, by purchase or lease, any goods, services, money, or credit for personal,
family, or household purposes”), with A.C. ¶ 498 (alleging that “Defendants deceptively operated the free
ChatGPT Platform . . .”). And even if CalOPPA did apply, Plaintiffs fail to allege that OpenAI was
provided with the requisite 30-day notice of non-compliance (see Cal. Bus. & Prof. Code § 22575(a)), or
that OpenAI actually violates the statute. For example, Plaintiffs allege that OpenAI “violates CalOPPA
by knowingly collecting information from minors . . . without appropriate measures to ensure parental
consent . . . .” A.C. ¶ 667. Yet nothing in the statute requires parental consent before minor use of a
product (see Cal. Bus. & Prof. Code § 22575(b)) and, even if it did, OpenAI’s Terms prohibit anyone
under 13 years old from using their services. See A.C. ¶ 502 (acknowledging Terms prohibit minors from
using services). Thus, these bases for UCL unlawful prong liability also fail.
16
   Breach of contract is not generally a basis for UCL unlawful liability and Plaintiffs do not (and cannot)
explain how they would be entitled to invoke supposed breaches of OpenAI’s unidentified contracts with
unspecified third parties as a basis for their claim. See A.C. ¶ 647(g); cf. Hall v. SeaWorld Ent., Inc., 747
F. App’x 449, 451-52 (9th Cir. 2018) (affirming dismissal of UCL unlawful claim because conduct, even
if true, did not cause direct economic harm to plaintiffs).
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unidentified representations and omissions. See Kearns, 567 F.3d at 1124-25 (applying Rule 9(b) to UCL

claim). Nor does the Amended Complaint demonstrate that OpenAI had an “affirmative duty” to disclose

any such information. See Hodsdon v. Mars, Inc., 891 F.3d 857, 865 (9th Cir. 2018). Such barebones

allegations are insufficient to satisfy Rule 9(b).

       Plaintiffs also appear to allege that OpenAI made false representations about user privacy. See

A.C. ¶ 689. But Plaintiffs both fail to allege the source(s) of these alleged misrepresentations with Rule

9(b) particularity and to explain why the alleged, unsourced misrepresentations were false. See, e.g., Hall

v. SeaWorld Ent., Inc., 2015 WL 9659911, at *10-13 (S.D. Cal. Dec. 23, 2015) (dismissing, under Rule

9(b), UCL claim that did not explain falsity of alleged misrepresentations); Vassigh v. Bai Brands LLC,

2015 WL 4238886, at *4 (N.D. Cal. July 13, 2015) (same); Antoine v. Berkshire Hathaway Guard Ins.,

2023 U.S. Dist. LEXIS 13087, at *6-12 (C.D. Cal. Jan. 25, 2023) (UCL claim fails Rule 9(b) pleading

standard absent explanation why statements would deceive public). Further, Plaintiffs do not allege

“actual reliance” on OpenAI’s alleged misrepresentations—let alone that “the misrepresentation was an

immediate cause of [their] injury-producing conduct.” Sateriale v. R.J. Reynolds Tobacco Co., 697 F.3d

777, 793 (9th Cir. 2012) (alteration in original; citation omitted).

       Plaintiffs also fail to plead a fraudulent omission where they do not (1) “describe the content of

the omission and where the omitted information should or could have been revealed” in documents

Plaintiffs viewed and relied on, see Marolda v. Symantec Corp., 672 F. Supp. 2d 992, 1002 (N.D. Cal.

2009), Yumul v. Smart Balance, Inc., 733 F. Supp. 2d 1117, 1124 n.10 (C.D. Cal. 2010); or (2) identify

with particularity the source of the alleged duty to disclose, see Hodges v. Apple Inc., 2013 WL 4393545,

at *5 (N.D. Cal. Aug. 12, 2013); Hall, 2015 WL 9659911, at *6.

       Unfair. Plaintiffs’ unfair prong claim fails because it is based on the same alleged conduct as their

claims under the other prongs. Where the allegedly unfair practice “overlaps entirely with the practices

addressed under the fraudulent and unlawful prongs of the UCL, the former may be dismissed when the

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latter prongs do not survive.” Knuttel v. Omaze, Inc., 2022 WL 1843138, at *13 (C.D. Cal. Feb. 22, 2022);

see also Holmes v. Johnson & Johnson, 617 F. App’x 639, 644 (9th Cir. 2015) (dismissing unfair prong

claim because “the same activity [] form[ed] the basis of her fraudulent ground” and the allegations did

not satisfy Rule 9(b)); Hadley v. Kellogg Sales Co., 243 F. Supp. 3d 1074, 1104–05 (N.D. Cal. 2017)

(collecting cases).

               2.      Illinois Claims (Counts 5-7)

       Only one Plaintiff, Breonna Roberts, alleges that she resides in Illinois. She asserts claims under

the Illinois Biometric Information Privacy Act (“BIPA”), Illinois Consumer Fraud and Deceptive Business

Practices Act (“ICFA”), and the Illinois Uniform Deceptive Trade Practices Act (“IUDTPA”)

(collectively, the “Illinois claims”).     These claims all fail at the outset for choice-of-law and

extraterritoriality reasons, as well as additional claim-specific reasons.

                       a.      Choice-of-Law 17

       Roberts’ three Illinois claims are displaced by the California choice-of-law provision in OpenAI’s

Terms of Use (“Terms”). See A.C. ¶¶539-547 (asking the Court to apply the California choice-of-law

provision to the majority of Plaintiffs’ claims). Indeed, Plaintiffs allege that the choice-of-law provision

applies and is enforceable. Specifically, Plaintiffs acknowledge that OpenAI “requires that California law

applies to disputes between [it] and ChatGPT Users” and that users must agree to the Terms before using

OpenAI services. A.C. ¶¶ 468, 543. And Roberts alleges that she is a registered ChatGPT user—she

claims she “started using ChatGPT 3.5 in mid-2022”—and that she disclosed her information to OpenAI

upon her sign-up and use of ChatGPT. Id. ¶¶ 16, 53, 453, 460, 604. Thus, Roberts acknowledges that she



17
  For purposes of this motion, OpenAI assumes that the California choice-of-law provision in its Terms
of Use apply to the claims asserted herein based on the allegations in the Amended Complaint. See A.C.
¶¶ 539-547. However, nothing herein is intended to nor does waive OpenAI’s right to raise future choice-
of-law arguments inconsistent with the allegations in the Amended Complaint or the arguments made
herein.
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is bound by the choice-of-law provision. Id. ¶ 543. 18

        A choice-of-law clause is generally enforceable if “the chosen state has a substantial relationship

to the parties or their transaction, or . . . a reasonable basis otherwise exists for the choice of law,” unless

doing so would violate “a fundamental policy” of the other state and the other state has a “materially

greater interest in the determination of the particular issue.” Wash. Mut. Bank, FA v. Super. Ct., 24 Cal.

4th 906, 917 (2001); see Trump v. Twitter Inc., 602 F. Supp. 3d 1213, 1226 (N.D. Cal. 2022) (applying

California choice-of-law provision to dismiss Florida consumer protection claim).                As Plaintiffs

acknowledge, OpenAI is “headquartered” and has its “nerve center” in California. A.C. ¶ 542. California

is also “where the majority of [allegedly] unlawful conduct took place.” Id. Nor would enforcement of

the choice-of-law clause violate any Illinois “fundamental policy.” For example, courts frequently dismiss

ICFA and IUDTPA claims where, as here, there is a California choice-of-law clause because such laws

cover the same conduct as California’s own consumer protection and unfair competition laws. See In re

Nexus 6P Prods. Liab. Litig., 293 F. Supp. 3d 888, 934-35 (N.D. Cal. 2018) (so holding; noting that no

Illinois court “has declined to apply California consumer law for public policy reasons”).

        The BIPA claim meets the same end. Both California and Illinois offer robust biometric privacy


18
   Roberts’ attempts to plead around application of the Terms are unavailing. The Amended Complaint
includes an entire section on why “California law should apply to out-of-state plaintiffs’ and class
members’ non-statutory claims”—based in large part on application of the California choice-of-law
provision in OpenAI’s Terms. See A.C. ¶¶ 539-547. Yet elsewhere in the Amended Complaint, Plaintiffs
(including Roberts) argue that the Terms were not “conspicuous enough.” Id. ¶¶ 468-470. Not so. When
creating an OpenAI account, a user views a separate pop-up screen requiring them to click “Continue”
affirmatively, immediately above a single sentence stating, “By clicking ‘Continue,’ you agree to our
Terms and acknowledge our Privacy policy.” Id. ¶ 468. “Terms” and “Privacy policy” appear as green
hyperlinks, offset from the rest of the sentence’s black text. Id. This is more than sufficient. See Oberstein
v. Live Nation Ent., Inc., 60 F.4th 505, 515-16 (9th Cir. 2023) (user had adequate notice of terms where
“Place Order” button was directly above blue hyperlink to Terms and text that user was bound by clicking
button); Dohrmann v. Intuit Inc., 823 F. App’x 482, 483-84 (9th Cir. 2020) (same where “relevant warning
language and hyperlink to the Terms . . . were the only text on the webpage in italics, were located directly
below the sign-in button, and the sign-in page was relatively uncluttered”); Lee v. Ticketmaster L.L.C.,
817 F. App’x 393, 394-95 (9th Cir. 2020) (same, where blue hyperlink to Terms available below “Place
Order” button and statement that user accepted terms by clicking button).
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protections, such that California law controls Roberts’ claim. In California, the CCPA and California

Privacy Rights Act (“CPRA”) comprehensively regulate the collection and use of consumers’ biometric

data as “sensitive personal information” entitled to special protections.                   Cal. Civ. Code

§ 1798.140(ae)(2)(A). They require businesses, inter alia, to inform consumers (1) that their biometric

data is being collected or used; (2) for what purposes; (3) whether it will be shared; and (4) how long it

will be retained. Id. § 1798.100. Consumers can also limit how businesses use their biometric data, id.

§ 1798.121, prohibit its disclosure to third parties, id., and request its deletion at any time, id. § 1798.105.

Consumers enjoy a private right of action to recover statutory or actual damages following a breach of

their biometric data. Id. § 1798.150. And the California Attorney General may seek statutory penalties

for each violation. Id. § 1798.155.

       Roberts does not dispute that she agreed to the Terms. Instead, she alleges that she can maintain

her statutory claims despite the choice-of-law provision, citing In re Facebook Biometric Information

Privacy Litigation, 185 F. Supp. 3d 1155 (N.D. Cal. 2016). A.C. ¶ 541. That 2016 decision declined to

enforce Facebook’s California choice-of-law clause, reasoning that “[u]nlike Illinois, California has not

legislatively recognized a right to privacy in personal biometric data and has not implemented any specific

protections for that right or afforded a private cause of action to enforce violations of it.” Facebook

Biometric, 185 F. Supp. 3d at 1169–70. Thus, at the time, Illinois had a “greater interest in the outcome”

of the case because it would “suffer a complete negation of its biometric privacy protections for its citizens

if California law [wa]s applied.” Id. at 1170. Facebook Biometric does not control because this central

premise is no longer true after California enacted the CCPA in 2018 and the CPRA in 2023. And more

recent decisions have dismissed BIPA claims based on contractual choice-of-law clauses like the one here.

Thakkar v. ProctorU, Inc., 642 F. Supp. 3d 1304, 1311–20 (N.D. Ala. 2022) (dismissing BIPA claim

pursuant to Alabama choice-of-law clause).

       Thus, the California choice-of-law clause in OpenAI’s Terms controls Roberts’ claims, requiring

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dismissal of all three of the Illinois claims.

                        b.      Extraterritoriality

        The Illinois claims also fail because they do not apply extraterritorially. Each statute only applies

if the “alleged conduct occurred ‘primarily and substantially’ in Illinois,” which Roberts does not (and

cannot) allege. See McGoveran v. Amazon Web Servs., Inc., 2021 WL 4502089, at *4–5 (D. Del. Sept.

30, 2021) (dismissing BIPA claim because plaintiff did not allege that “Defendants did anything in

Illinois”); Archey v. Osmose Utils. Servs., Inc., 2022 WL 3543469, at *5 (N.D. Ill. Aug. 18, 2022)

(dismissing ICFA claim because the plaintiff merely alleged that he was an Illinois resident who provided

his personal information in Illinois); Int’l Equip. Trading, Ltd. v. Illumina, Inc., 312 F. Supp. 3d 725, 733

(N.D. Ill. 2018) (dismissing ICFA and IUDTPA claims because company’s incorporation and principal

place of business in Illinois were, without more, insufficient to “establish the requisite connection to

Illinois when the allegedly illegal actions of a California-based company impacted potential customers

outside of Illinois”). Roberts merely alleges that she resides in Illinois—and “Plaintiffs’ residency,

standing alone, is not sufficient” to overcome the default presumption against extraterritorial application

of Illinois statutes. McGoveran, 2021 WL 4502089, at *4–5. Indeed, she concedes that she is alleging

California “is where the majority of unlawful conduct took place—from development of the AI products,

decisions concerning AI Products and training of the AI, web scraping practices, and other major

decisions.” See A.C. ¶ 542. Thus, each Illinois claim should be dismissed for this independent reason.

                        c.      Illinois Claim-Specific Bases for Dismissal

                                (1)     BIPA (Count 5)

        The BIPA claim also fails for two additional reasons. First, Roberts does not allege that OpenAI

possessed or obtained her biometric data, as required to state a BIPA claim. 740 ILCS 14/15 (BIPA

subsections (a) and (c)-(e) apply only to companies “in possession” of biometric data, and subsection (b)

applies to those who “obtain” such data). She speculates that OpenAI “t[ook] [her] photos off of the

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internet,” but identifies no specific photo(s) or basis to believe that OpenAI possessed or obtained her

photos, let alone extracted biometric data such as scans of facial geometry from those photos. See A.C.

¶ 716.

         These cursory allegations are fatally deficient. See Barnett v. Apple Inc., 2022 IL App (1st)

220187, at *7 (Ill. App. Ct. Dec. 23, 2022) (plaintiff did not plausibly allege that Apple “possesse[d]” her

biometric data because she pled only “possibilities,” not “facts”); see also Stauffer v. Innovative Heights

Fairview Heights, LLC, 2022 WL 3139507, at *6 (S.D. Ill. Aug. 5, 2022) (BIPA claim not stated where

plaintiff merely alleged that defendant “could access the biometric information one day,” but did not

plausibly allege that it already had) (emphasis omitted). Without the required fact pleading, Roberts

merely parrots BIPA’s language, requiring dismissal. Jones v. Microsoft Corp., 649 F. Supp. 3d 679, 685

(N.D. Ill. 2023) (dismissing claim where allegations regarding supposed “disclosure, redisclosure, or

dissemination” of biometric data merely “parrot[ed] BIPA’s language”); Carpenter v. McDonald’s Corp.,

580 F. Supp. 3d 512, 519 (N.D. Ill. Jan. 13, 2022) (similar, where plaintiff parroted statute without stating

facts substantiating his allegation that McDonald’s disclosed his biometric data). 19

         Second, Roberts fails to plead that her allegedly scraped photos qualify as biometric data under

BIPA. BIPA protects only two types of data: biometric identifiers and biometric information. “Biometric

identifier” is defined as a “retina or iris scan, fingerprint, voiceprint, or scan of hand or face geometry[,]”

expressly excluding “photographs,” while “biometric information” is “any information . . . based on an

individual’s biometric identifier used to identify an individual.” 740 ILCS 14/10. To the extent that

Roberts’ claim is based on BIPA’s “biometric information” prong, it fails because she does not allege that

OpenAI used any biometric data that it supposedly gathered to identify her. See 740 ILCS 14/10. Instead,


19
   Roberts’ claim under Section 15(c) of BIPA also fails because she does not allege that OpenAI sold,
leased, traded, or otherwise provided access to any of her biometric data in exchange for consideration,
740 ILCS 14/15(c), but rather only that OpenAI “incorporat[ed]” her “information into the Products for
commercial gain.” A.C. ¶ 719.
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she alleges that OpenAI used her photos to “scan[] [her] facial geometry and related biometric information

to train the algorithms on which DALL-E runs.” A.C. ¶ 716. 20

       Further, this allegation is deficient under either the “biometric information” or “biometric

identifier” prongs because it is mere conjecture. Cf. Clarke v. Aveda Corp., 2023 WL 9119927, at *1-2

(N.D. Ill. Dec. 1, 2023) (dismissing BIPA claim resting on speculation that company obtained face

geometry scans by offering virtual feature that took users’ photos or allowed them to upload photos).

Similarly to Clarke, Roberts does not plead that scanning photos for facial geometry is part of training an

LLM; that OpenAI in fact performs such scans; when or how OpenAI allegedly scanned her photos for

her facial geometry; which photos were scanned; or whether OpenAI could identify her using such

putative scans. Her BIPA claim should be dismissed.

                               (2)     ICFA (Count 6)

       Roberts’ ICFA claim also fails for two claim-specific reasons. First, she lacks statutory standing

because she is not a “consumer,” defined as a “person who purchases or contracts for the purchase of

merchandise not for resale . . . .”   815 ILCS 505/1(e) (emphasis added). Roberts alleges only that she

uses ChatGPT-3.5, a free service. A.C. ¶ 53. Her failure to purchase anything from OpenAI deprives her

of standing to maintain her ICFA claim.

       Second, Roberts has not pled the elements of an ICFA claim with the required Rule 9(b)

particularity. Tara Brands LLC v. Vaimo, Inc., 2022 WL 704811, at *2 (N.D. Ill. Mar. 9, 2022)

(dismissing ICFA claim under Rule 9(b)).          An ICFA claim requires allegations that defendant



20
    While Roberts also broadly alleges that OpenAI scraped her videos and voice (A.C.
¶¶ 54-56), she does not present this allegation as a basis for her BIPA claim. In any event, she does not
allege any specific video or voice recording that OpenAI supposedly scraped; does not allege facts
plausibly showing that OpenAI possessed or obtained them; and does not relate the supposedly collected
information to the definition of “biometric identifier” or “biometric information” under the statute (e.g.,
explain how the scraped data amounts to a “scan of face geometry” or a “voiceprint,” and was used to
identify her).
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(1) committed a deceptive act or practice; (2) with intent that the plaintiff rely on the deception; (3) in the

course of trade or commerce; (4) which proximately caused the plaintiff’s injury. O’Keefe v. Walgreens

Boots All., Inc., 172 N.E.3d 1159, 1162 (Ill. App. Ct. 2020).

       Courts assess whether an act is “deceptive” based on “the totality of the information made available

to the plaintiff.” Davis v. G.N. Mortg. Corp., 396 F.3d 869, 884 (7th Cir. 2005). Roberts has not

adequately alleged a deceptive act because she alleges that OpenAI informs the public about at least some

of the publicly-accessible data sets on which it trains its AI models, and its Terms disclose how it uses

information collected from ChatGPT users. A.C. ¶¶ 186, 190-191, 194-195, 218. These public disclosures

alone undermine any conclusion that Roberts has adequately alleged that OpenAI commits “deceptive”

acts under the ICFA.

       Nor does Roberts allege that OpenAI intended for her to rely on any supposed misstatements or

omissions. She freely posted her allegedly “scraped” content on the Internet prior to 2021 (see A.C. ¶ 58),

well before OpenAI was known to the general public or began training its publicly-released AI models.

Not only does Roberts fail to identify any specific, alleged misrepresentations with particularity, she does

not (and cannot) explain how any supposed “omissions” about training practices that OpenAI had not yet

fully formulated could possibly be intended to induce her reliance.

       And Roberts has not alleged an actual injury. At most, she alleges abstractly what a generic

individual’s data might be worth in certain limited contexts. See, e.g., A.C. ¶¶ 411-415. But this does not

establish that OpenAI’s alleged collection of Roberts’ publicly-posted content, interactions with ChatGPT,

and anonymized Internet data is tantamount to an ICFA injury. See Petta v. Christie Bus. Holding Co.,

P.C., 2023 IL App (5th) 220742, at *3 (Ill. App. Ct. 2023) (dismissing ICFA claim arising from alleged

data breach because allegations suggesting “certain dollar amounts that this personal information can be

sold for” without “any indication of how the dissemination of the personal information would affect its

value” were insufficient); see also Morris v. Harvey Cycle & Camper, Inc., 392 Ill. App. 3d 399, 402 (Ill.

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App. Ct. 2009) (“failure to allege specific, actual damages precludes a claim brought under the [ICFA]”).

                               (3)    IUDTPA (Count 7)

       As a threshold issue, Illinois courts have consistently held that the IUDTPA “was enacted to

prohibit unfair competition and was not intended to be a consumer protection statute.” Chabraja v. Avis

Rent A Car Sys., Inc., 192 Ill. App. 3d 1074, 1079 (Ill. App. Ct. 1989); see also World Kitchen, LLC v.

Am. Ceramic Soc’y, 2016 WL 3568723, at *3, *7 (N.D. Ill. June 30, 2016) (dismissing IUDTPA claim

for failure to plead that allegedly harmful speech was “commercial” in nature). Thus, Roberts’ attempt to

invoke the statute for consumer protection purposes (see A.C. ¶¶ 465, 467) should be rejected.

       Roberts’ IUDTPA claim also fails on the pleadings because she has not alleged the claim with the

requisite Rule 9(b) particularity. See Schwebe v. AGC Flat Glass N. Am., Inc., 2013 WL 2151551, at *3

(N.D. Ill. May 16, 2013) (collecting cases affirming dismissal of IUDTPA claims for failure to meet Rule

9(b)); see also A.C. ¶¶ 464-468 (alleging knowing and misleading conduct sounding in fraud). For

example, nothing in the Amended Complaint specifies the alleged misrepresentations at issue. And

“general quality claims [are] too vague to create warranted reliance.” Smith v. Am. Arb. Ass’n, Inc., 233

F.3d 502, 507 (7th Cir. 2000). Thus, allegations like OpenAI is “strongly committed to keeping secure

any information we obtain from you or about you” (A.C. ¶¶ 480, 683) are insufficient.

       Moreover, even if the IUDTPA offers relief to some consumers in discrete circumstances, it does

not do so here where Roberts seeks damages and cannot show a likelihood of future harm. See Magnuson

v. Window Rock Residential Recovery Fund, L.P., 2023 WL 8090727, at *8 (N.D. Ill. Nov. 21, 2023)

(“[T]he IUDTPA does not provide a private cause of action for damages”). As Illinois courts have

explained, demonstrating a likelihood of future harm sufficient to obtain injunctive relief is impossible for

“most consumer[s] . . . because the harm has already occurred, and because the plaintiff is unlikely to be

deceived by a defendant’s misstatements again in the future.” Perdue v. Hy-Vee, Inc., 455 F. Supp. 3d

749, 773 (C.D. Ill. 2020); Fox v. Iowa Health Sys., 399 F. Supp. 3d 780, 799-800 (W.D. Wis. 2019)

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(dismissing IUDTPA claim based on alleged misrepresentations concerning a data breach for failure to

plead future harm); A.C. ¶¶ 58-60 (Roberts indicating her awareness of OAI’s alleged collection of her

information and incorporation into its products).

               3.      Negligence (Count 8)

       First, Plaintiffs do not adequately allege that OpenAI owed them a duty of care. They hypothesize

a variety of duties to abstain from (1) web scraping; (2) training AI on individuals’ data; and (3) collecting,

sharing, and retaining user data. See A.C. ¶ 728. But negligence requires a duty imposed by law, assumed

by the defendant, or arising from a preexisting relationship. Green Desert Oil Grp. v. BP W. Coast Prods.,

2011 WL 5521005, at *5 (N.D. Cal. Nov. 14, 2011), aff’d, 571 F. App’x 633 (9th Cir. 2014). Plaintiffs

do not plead facts illustrating the basis for OpenAI’s alleged duty, instead alleging that it “arose from

several sources,” each unspecified. See A.C. ¶ 729. Thus, Plaintiffs’ negligence claim fails as a matter

of law. Green Desert, 2011 WL 5521005, at *5 (dismissing negligence claim for failure to plead duty);

Johnson v. Maker Ecosystem Growth Holdings, Inc., 2023 WL 2191214, at *5 (N.D. Cal. Feb. 22, 2023)

(similar; failure “to identify the source of the duty”); Young v. Facebook, Inc., 790 F. Supp. 2d 1110, 1118

(N.D. Cal. 2011) (similar; failure to identify any contract or non-contract duty).

       Plaintiffs’ allegation that OpenAI “had a common law duty to prevent foreseeable harm to others”

(A.C. ¶ 729) does not suffice, because California “requir[es] more than mere foreseeability for imposing

a duty of care.” See S. Cal. Gas Leak Cases, 7 Cal. 5th 391, 401 (2019). Otherwise, the law could impose

“liability in an indeterminate amount for an indeterminate time to an indeterminate class.” Id. at 414

(citation omitted). So too here: Plaintiffs seek to impose an expansive, continuing duty on OpenAI

extending to “millions of individuals” from whom it allegedly “collected and continue[s] to collect Private

Information,” based on a “zone of risk that is incalculable.” A.C. ¶ 729. Arguably, Plaintiffs’ theory

would impose on every web scraper a duty of care to every person who has chosen to post information to

the open Internet. Cf. id. ¶ 185 (alleging that “[t]he breadth and scope of Defendants’ data collection . . .

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impact[s] essentially every internet user ever”). California law prohibits such negligence claims. See S.

Cal. Gas Leak Cases, 7 Cal. 5th at 394-95, 403 (affirming dismissal of negligence claim seeking lost

business income and recognizing need to cabin “limitless liability and unending litigation”).

           Second, Plaintiffs fail to plead cognizable damages.     Plaintiffs’ allegations that OpenAI’s

negligence caused them unspecified “damages” and “significant harm” are insufficient. See A.C. ¶¶ 733,

471 (p. 193); see West v. City & Cnty. of San Francisco, 2022 WL 1556415, at *13 (N.D. Cal. May 17,

2022) (dismissing negligence claim where plaintiff did not identify the injuries and damages that

defendant’s conduct caused). Indeed, courts frequently dismiss negligence claims based on the alleged

misappropriation of personal information for failure to plead harm. See Low v. LinkedIn Corp., 900 F.

Supp. 2d 1010, 1032 (N.D. Cal. 2012) (dismissing negligence claim where plaintiffs failed to plead how

they were “foreclosed from capitalizing on the value of [their] personal data”); In re iPhone Application

Litig., 844 F. Supp. 2d 1040, 1064 (N.D. Cal. 2012) (dismissing negligence claim based on “unreasonable

risk to the security of sensitive personal information” for failure to identify non-speculative, present

injury).

           Plaintiffs’ other damages allegations—which are “scattered” through the Amended Complaint,

Martin, 2023 WL 2717636, at *5—are equally unavailing. Plaintiffs allege “loss of value” and “loss of

control over their sensitive personal information.” A.C. ¶ 672. But their loss of value theory is barred by

the “economic loss doctrine” because it seeks recovery for purely economic loss. Such recovery is

unavailable for negligence claims absent (1) personal injury; (2) physical damage to property; (3) a

“special relationship” existing between the parties; 21 or (4) another common law exception to the rule—



21
   Plaintiffs do not plausibly allege the existence of a special relationship, which is assessed via a six-
factor test, including “the extent to which the transaction was intended to affect the plaintiff” and the
“degree of certainty that the plaintiff suffered injury.” J’Aire Corp. v. Gregory, 24 Cal. 3d 799, 804 (1979)
(listing factors). Here, Plaintiffs’ alleged harms are speculative at best, see Section III.C.3, supra, and
they do not allege that OpenAI’s actions were specifically intended to affect them.
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none of which the Amended Complaint alleges. Kalitta Air, L.L.C. v. Cent. Tex. Airborne Sys., Inc., 315

F. App’x 603, 605 (9th Cir. 2008); see Kadrey v. Meta Platforms, Inc., 2023 WL 8039640, at *2 (N.D.

Cal. Nov. 20, 2023) (Chhabria, J.) (dismissing negligence claim based on Meta’s LLaMA language model

as, inter alia, barred by the economic loss doctrine).

       Plaintiffs’ alleged “loss of control” over unspecified personal information (A.C. ¶¶ 672, 697, 713)

“is also insufficient to establish damages for a negligence claim,” Aguilar v. Hartford Accident & Indem.

Co., 2019 WL 2912861, at *2 (C.D. Cal. Mar. 13, 2019). Allegations of “emotional distress” (A.C. ¶¶ 672,

697, 713) likewise fail, Varnado v. Midland Funding LLC, 43 F. Supp. 3d 985, 990 (N.D. Cal. 2014)

(emotional distress is not a basis for negligence claim absent “malice, breach of a fiduciary duty, physical

injury or impact, or some other unusually extreme or outrageous circumstance”). And their allegations of

potential future harm—such as (1) AI eventually leading to their “professional obsolescence” (e.g., A.C.

¶ 17); (2) “unpredictable consequences” of entrusting personal information to LLMs (id. ¶ 221); or

(3) “nefarious” harm if “ChatGPT has access to a User’s browsing history, search queries, and

geolocation” and “combines this information with what Defendant OpenAI has secretly scraped from the

internet,” such that “Defendants could build a detailed profile of Users’ behavior patterns” (id. ¶ 307)—

are far too speculative. See In re Sony Gaming Networks & Customer Data Sec. Breach Litig., 903 F.

Supp. 2d 942, 962-63 (S.D. Cal. 2012).

       D.      Plaintiffs Have Not Stated a Claim for Invasion of Privacy (Count 9).

       To establish an invasion of privacy claim, Plaintiffs must allege: (1) a legally protected privacy

interest; (2) a reasonable expectation of privacy; and (3) conduct amounting to “a serious invasion of the

protected privacy interest,” i.e., “an egregious breach of the social norms.” Low, 900 F. Supp. 2d at 1024–

25 (citation omitted). Plaintiffs’ claim fails on all three grounds.

       First, Plaintiffs do not have a legally protected privacy interest in information they voluntarily

posted on public websites. See Smith v. Maryland, 442 U.S. 735, 743-44 (1979) (finding “a person has

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no legitimate expectation of privacy in information he voluntarily turns over to third parties”); McCluskey

v. Hendricks, 2023 WL 3376564, at *2 (9th Cir. May 11, 2023) (finding plaintiffs lacked “justifiable

expectation of privacy” in social media posts that were broadly visible and “liked by dozens to hundreds

of people”). Plaintiffs’ reliance on Riley v. California, 573 U.S. 373 (2014), U.S. Department of Justice

v. Reporters Committee for Freedom of the Press, 489 U.S. 749 (1989), and White v. Davis, 13 Cal. 3d

757 (1975) is misplaced. See A.C. ¶¶ 737, 740 & nn.397, 399. Riley addressed Fourth Amendment

concerns in the context of a cell phone seized during arrest, 573 U.S. at 393-97, rather than allegations of

web scraping and interception by private parties. Reporters Committee addressed privacy concerns

surrounding disclosure of government-compiled criminal records. 489 U.S. at 763-64. Plaintiffs cannot

extend this holding to information publicly posted or voluntarily provided to OpenAI or third parties. And

in White v. Davis, the California Supreme Court specifically noted that the constitutional privacy provision

was driven by fears of government and corporate creation of personalized, “cradle to grave” dossiers on

American citizens—conduct not alleged here beyond cursory and baseless speculation. See A.C. ¶ 440.

       Second, Plaintiffs lacked a reasonable expectation of privacy in the allegedly misappropriated

information. “[T]he plaintiff in an invasion of privacy case must have conducted himself or herself in a

manner consistent with an actual expectation of privacy.” Hill v. Nat’l Collegiate Athletic Ass’n, 7 Cal.

4th 1, 26 (1994). But here, Plaintiffs allege that they posted the challenged information to the open Internet

or public, third-party online platforms, defeating their claims. See A.C. ¶¶ 21-25, 31-34, 42-45, 54-56,

63-65, 73-76, 83-87, 93-96, 102, 107-109, 116, 121-123, 130-131; McCluskey, 2023 WL 3376564, at *2

(affirming dismissal of intrusion claim because plaintiff lacked “justifiable expectation of privacy” in

social media posts that were broadly visible and “liked by dozens to hundreds of people”); Davidson v.

Hewlett-Packard Co., 2021 WL 4222130, at *6-7 (N.D. Cal. Sept. 16, 2021) (no reasonable expectation

of privacy in personal medical information disclosed on blog); see also Gonzales v. Uber Techs., Inc., 305

F. Supp. 3d 1078, 1091-92 (N.D. Cal. 2018) (dismissing claim because Lyft drivers lacked reasonable

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expectation of privacy in geolocation data and home addresses surreptitiously collected by Uber

“spyware,” where members of the public (Lyft users) could see the drivers’ geolocation data and home

addresses); Heeger v. Facebook, Inc., 509 F. Supp. 3d 1182, 1189 (N.D. Cal. 2020) (no reasonable

expectation of privacy in IP addresses). In the Amended Complaint, Plaintiffs try to plead around this

issue by alleging that they shared information with “purposely limited audiences” and “other restricted

online groups.” A.C. ¶¶ 21, 25, 55, 122, 301. But Plaintiffs do not allege any facts showing that these

groups were in fact “limited” or “restricted” apart from labeling them so. For example, no Plaintiff alleges

that such groups were limited to “a few dozen friends.” Cf. In re Facebook, Inc., Consumer Priv. User

Profile Litig., 402 F. Supp. 3d 767, 783 n.3 (N.D. Cal. 2019) (Chhabria, J.) (“It seems quite possible that

a user whose settings allow information to be shared not only with friends, but friends of friends, loses

any expectation of privacy . . . .”). And nothing in the Amended Complaint changes the fact that Plaintiffs

voluntarily provided the information knowing anyone in those online groups could share that information

with others. Plaintiffs’ alleged conduct is simply inconsistent with their claimed expectation of privacy.

See Heldt v. Guardian Life Ins. Co. of Am., 2019 WL 651503, at *7 (S.D. Cal. Feb. 15, 2019) (finding no

reasonable expectation of privacy where, inter alia, plaintiff “voluntarily shared the information with his

Facebook friends knowing there [wa]s a possibility that his friends could share that information with

others”).

       Third, any privacy intrusion was not “an egregious breach of the social norms”—a high bar. See

Low, 900 F. Supp. 2d at 1025. Courts often dismiss privacy claims where, as here, Plaintiffs fail to identify

what specific personal information was allegedly misappropriated. See, e.g., Hammerling v. Google LLC,

615 F. Supp. 3d 1069, 1091 (N.D. Cal. 2022) (dismissing claim where plaintiffs failed to allege that data

collected by defendant was “sufficiently specific or personal” to implicate privacy interests). For instance,

Plaintiffs allege generally that OpenAI “track[ed] the internet communications of millions of Americans”

and conducted “[s]ecret monitoring of web browsing.” A.C. ¶¶ 744, 747. Yet Plaintiffs fail to identify

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what specific content is at issue in sufficient detail for OpenAI to address whether its alleged collection

constitutes an “egregious breach of social norms,” so by definition, they have not alleged the required

intrusion. 22 Had they done so, OpenAI could have presented additional arguments supporting dismissal

based on the disputed content at issue. See, e.g., In re iPhone, 844 F. Supp. 2d at 1063 (dismissing claim

based on disclosure of “unique device identifier number, personal data, and geolocation information”);

Yunker v. Pandora Media, Inc., 2013 WL 1282980, at *14-15 (N.D. Cal. Mar. 26, 2013) (same but for

personal identification information (“PII”)); Hammerling, 615 F. Supp. 3d at 1090-91 (noting that “[e]ven

disclosure of highly personal information such as social security numbers is not ‘highly offensive’”).

       E.      Plaintiffs Cannot State a Claim Based on Defendants’ Alleged Profiting from
               Scraping and Interception of Their Data.

               1.     Conversion (Count 10)

       Plaintiffs allege that OpenAI converted their unspecified personal information, which they claim

is their property (A.C. ¶¶ 753-756), giving rise to a claim for conversion, which requires a plaintiff’s

“ownership or right to possession of the property,” the “defendant’s conversion by a wrongful act,” and

damages. See McGowan v. Weinstein, 505 F. Supp. 3d 1000, 1021 (C.D. Cal. 2020) (citation omitted).

Plaintiffs’ conversion claim fails.   First, Plaintiffs’ allegations show that the challenged personal

information is not “property.” A “property” right requires (1) an interest capable of precise definition;

(2) a property capable of exclusive possession or control; and (3) the putative owner’s legitimate claim to

exclusivity. See In re iPhone, 844 F. Supp. 2d at 1074. “[A]n individual does not have an inherent

property right to publicly available personal information because that information is not, and cannot, be

under the user’s exclusive control.” United States v. Abouammo, 2022 WL 17584238, at *12 (N.D. Cal.



22
  Plaintiffs’ allegations that Defendants’ conduct was “highly offensive” (see A.C. ¶¶ 743-749) are also
inadequately pled. For instance, Plaintiffs allege that “[s]ecret monitoring of web browsing is highly
offensive behavior.” Id. ¶ 747. But Plaintiffs do not plead any facts supporting their claim that OpenAI
monitors Plaintiffs’ web browsing, whether secretly or otherwise.
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Dec. 12, 2022). Thus, courts frequently hold that the “private information” at issue here—like names,

contact details, emails, device and browser information, and cookies (A.C. ¶ 16)—are not capable of

exclusive possession or control. See, e.g., In re iPhone, 844 F. Supp. 2d at 1075 (dismissing conversion

claim because challenged data types, including user locations, zip codes, and device identifiers, did not

satisfy exclusivity requirement); Yunker, 2013 WL 1282980, at *16-17 (dismissing conversion claim

because age, gender, location, and device identifier data failed exclusivity requirement); Low, 900 F. Supp.

2d at 1030-31 (dismissing conversion claim because allegedly intercepted URLs and browsing histories

failed exclusivity requirement). Indeed, Plaintiffs allege that they posted their supposedly “private

information” to publicly-available websites or tendered it to OpenAI or third parties, defeating any

argument that their information was under their “exclusive control.” See A.C. ¶¶ 19-135. 23

       Second, Plaintiffs cannot allege that their “personal information” was converted by a wrongful act.

Essentially, Plaintiffs take issue with OpenAI copying “personal information”—either from the Internet

or certain AI services. But case law is clear that this alleged conduct, even if true, does not give rise to

liability: “Where property is capable of being copied, wrongful possession of copies does not typically

give rise to a conversion claim if the rightful owner retains possession of the original or retains access to


23
   The Amended Complaint cites Calhoun v. Google LLC, 526 F. Supp. 3d 605, 635 (N.D. Cal. 2021), as
support for the notion that “personal information” is property. See A.C. ¶ 753. However, Calhoun is
based on the idea that misappropriated personal information could lose value. 526 F. Supp. 3d at 635.
Importantly, decisions before and after Calhoun make clear that plaintiffs alleging lost value must
“plausibly allege that they intended to sell their non-disclosed personal information to someone else.” In
re Facebook, Inc., Consumer Priv. User Profile Litig., 402 F. Supp. 3d at 784 (in context of standing,
rejecting argument that personal information has “independent economic value to an individual user”
absent allegations user intended to sell and someone would have bought it); see Gardiner, 2021 WL
4992539, at *3 (rejecting “lost value” damages theory where plaintiff did not “allege that he has been
unable to sell, profit from, or monetize his personal information”); see also McClung v. AddShopper, Inc.,
2024 WL 189006, at *4 (N.D. Cal. Jan. 17, 2024) (Chhabria, J.) (expressing skepticism of argument that
personal information is property based on Calhoun). Plaintiffs’ reliance on In re Facebook, Inc. Internet
Tracking Litigation, 956 F.3d 589, 600 (9th Cir. 2020), fares no better. See A.C. ¶¶ 406, 418 & n.324.
That case neither holds that individuals have property rights in publicly-posted Internet information nor
that a conversion claim can lie where a plaintiff fails to allege selling or trying to sell their personal
information.
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other copies.” McGowan, 505 F. Supp. 3d at 1022 (citation omitted). Here, Plaintiffs do not and cannot

allege that OpenAI is depriving them of the use of their “property”—information that is publicly available

and to which Plaintiffs retain access. See, e.g., A.C. ¶¶ 21-27, 31-38, 42-50, 54-59, 63-69, 73-79, 83-89,

93-98, 102-104, 107-111, 115-118, 121-126, 130-134 (alleging Plaintiffs posted content and photos and

made other “online contributions” to “websites and social media applications”). That OpenAI may have

copied certain publicly-available information or otherwise nonexclusive information does not give rise to

liability under California conversion law.

       Third, Plaintiffs allege that they “have been damaged as a result of Defendants’ unlawful

conversion of their property” (A.C. ¶ 756), but do not allege that they in fact suffered injury or harm,

defeating their claim. See Section III.C.3, supra (no injury or harm); In re iPhone, 844 F. Supp. 2d at

1074 (conversion claim has damages element).

               2.      Unjust Enrichment (Count 11)

       Unjust enrichment is not a standalone claim under California law. See Astiana v. Hain Celestial

Grp., Inc., 783 F.3d 753, 762 (9th Cir. 2015). Thus, an unjust enrichment claim is construed “as a quasi-

contract claim seeking restitution,” which requires a plaintiff to plead that a “defendant has been unjustly

conferred a benefit through mistake, fraud, coercion, or request.” Id. (internal quotations and citations

omitted). But Plaintiffs have alleged no basis for a quasi-contract claim. Their scraping theory does not

plead the required “affiliation or connection” with OpenAI to state this claim. See Sugarfina, Inc. v. Sweet

Pete’s LLC, 2017 WL 4271133, at *8 (C.D. Cal. Sept. 25, 2017) (citation omitted). Nor do Plaintiffs offer

factual allegations showing how OpenAI’s alleged failure to disclose scraping impacted their conduct.

See Rojas-Lozano v. Google, Inc., 159 F. Supp. 3d 1101, 1120 (N.D. Cal. 2016) (dismissing quasi-contract

claim based on Google’s alleged omission regarding reCAPTCHA program where plaintiff failed to plead

“omission impacted [plaintiff’s] conduct in any way”). To the contrary, Plaintiffs allege that OpenAI

acted on its own to scrape the “entire Internet.” See A.C. ¶¶ 26, 37, 49, 58, 68, 78, 88, 97, 104, 110, 118,

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125, 133, 181, 184. Such allegations do not state a claim.

       Nor do Plaintiffs’ interception allegations support a quasi-contract claim, because the “parties have

an enforceable agreement regarding a particular subject matter.” See Klein v. Chevron U.S.A., Inc., 202

Cal. App. 4th 1342, 1388 (2012). That is, Plaintiffs (as ChatGPT users) have consented to OpenAI’s

Terms, which cover this dispute because they encompass OpenAI’s collection, storage, use, and sharing

of individuals’ data. See A.C. ¶¶ 218, 476.

       F.      The California Uniform Trade Secrets Act (“CUTSA”) Supersedes Claims Premised
               on Misappropriation of Plaintiffs’ Personal Data.

       Plaintiffs’ UCL, negligence, conversion, and unjust enrichment claims (Counts 4, 8, 10, 11)

(collectively, the “CUTSA Claims”) are premised on allegations that OpenAI “stole[] and misappropriated

personal information at scale” and incorporated that information into its products. See A.C. ¶¶ 2, 12, 376,

408, 442, 447, 449. Because the gravamen of the CUTSA claims is “misappropriation of confidential

information,” CUTSA requires their dismissal. Mattel, Inc. v. MGA Ent., Inc., 782 F. Supp. 2d 911, 987

(C.D. Cal. 2011) (CUTSA “supersedes claims based on the misappropriation of confidential

information”); see Heller v. Cepia, L.L.C., 2012 WL 13572, at *7 (N.D. Cal. Jan. 4, 2012) (conversion,

unjust enrichment, and trespass to chattels claims superseded by CUTSA when based on non-trade secret

“wrongful taking and use of confidential business and proprietary information”). 24

       CUTSA’s “comprehensive structure and breadth . . . occupies the field in California” and

“implicitly preempts alternative civil remedies” based on either trade secrets or “information that, though

not a trade secret, was nonetheless of value to the claimant.” K.C. Multimedia, Inc. v. Bank of Am. Tech.

& Operations, Inc., 171 Cal. App. 4th 939, 954 (2009); Silvaco Data Sys. v. Intel Corp., 184 Cal. App.



24
  By arguing CUTSA supersession, OpenAI does not concede that Plaintiffs’ information was private or
confidential, especially given that they posted it publicly on the Internet. Rather, because Plaintiffs chose
to premise their case on the core theory that OpenAI “use[d] stolen private information” (A.C. ¶ 3),
CUTSA applies and precludes them from asserting these claims.
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4th 210, 239 n.22 (2010) (citation omitted); Mattel, 782 F. Supp. 2d at 987 (“[C]UTSA supersedes claims

based on the misappropriation of confidential information, whether or not that information meets the

statutory definition of a trade secret.”) (emphasis added). Thus, “common law claims premised on the

wrongful taking” of non-trade secret information are superseded, “unless the plaintiff identifies some law

which confers property rights protecting the information.” Heller, 2012 WL 13572, at *7. The same is

true for unfair competition claims premised on alleged misappropriation. K.C. Multimedia, 171 Cal. App.

4th at 961; see also NetApp, Inc. v. Nimble Storage, Inc., 41 F. Supp. 3d 816, 839–40 (N.D. Cal. 2014)

(UCL claim based on “misappropriation of proprietary information” superseded by CUTSA).

       Each of the CUTSA Claims sound in misappropriation. Plaintiffs’ negligence claim challenges

that Defendants negligently “collected” information to train their products for commercial benefit. A.C.

¶ 729. The conversion claim alleges that “Defendants wrongfully exercised control over Plaintiffs’ . . .

information and have not returned it.” Id. ¶ 755. And the unjust enrichment claim is based on Plaintiffs’

“loss of value . . . and the lost profits from the use of their [] information” resulting from the alleged

misappropriation. Id. ¶ 760. Such claims are superseded by CUTSA. See, e.g., Heller, 2012 WL 13572,

at *7 (conversion and unjust enrichment claims superseded by CUTSA); Digital Envoy, Inc. v. Google,

Inc., 370 F. Supp. 2d 1025, 1035 (N.D. Cal. 2005) (unfair competition and unjust enrichment claims

superseded by CUTSA); Callaway Golf Co. v. Dunlop Slazenger Grp. Ams., Inc., 318 F. Supp. 2d 216,

221-22 (D. Del. 2004) (conversion, unjust enrichment, and negligence claims superseded by CUTSA).

       Further, while Plaintiffs’ UCL claim invokes various underlying legal violations, each is premised

on the allegation that Defendants “took, accessed, intercepted, tracked, collected, or used” Plaintiffs’

information to train their AI products. See A.C. ¶¶ 647, 649. Such UCL claims are also superseded by

CUTSA. See K.C. Multimedia, 171 Cal. App. 4th at 962 (dismissing UCL claim based on alleged

misappropriation); MedImpact Healthcare Sys., Inc. v. IQVIA Inc., 2020 WL 5064253, at *20 (S.D. Cal.

Aug. 27, 2020) (CUTSA superseded UCL based on misappropriation); Race Winning Brands, Inc. v.

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Gearhart, 2023 WL 4681539, at *6 (C.D. Cal. Apr. 21, 2023) (UCL and conversion claims superseded

even to extent they “relate[d] to confidential information that may not be a trade secret”).

       CUTSA also supersedes claims based on alleged misappropriation of personal information, such

as names, phone numbers, and customer preferences. See, e.g., Farmers Ins. Exch. v. Steele Ins. Agency,

Inc., 2013 WL 3872950 at *1, *9–10, *14-15 (E.D. Cal. July 25, 2013) (CUTSA superseded alleged taking

of “Confidential Policyholder Information,” including names, addresses, phone numbers, and social

security numbers); New Show Studios LLC v. Needle, 2014 WL 2988271, at *5, *9–11 (C.D. Cal. June

30, 2014) (CUTSA superseded claims where defendants “accessed” and “public[ly] disclosed private

facts”); Glam & Glits Nail Design, Inc. v. #NotPolish, Inc., 2021 WL 2317410, at *5, *9–11 (S.D. Cal.

June 7, 2021) (CUTSA superseded claims arising from customers’ “non-public personal cellphone

numbers,” purchasing history, pricing, and preferences). The CUTSA Claims should therefore be

dismissed. 25

IV.    CONCLUSION

       For the foregoing reasons, Plaintiffs fail to state a claim against OpenAI. Because Plaintiffs have

already had an opportunity to amend and the above-described pleading defects are both central to

Plaintiffs’ theory of the case and cannot be remedied by further amendment, dismissal should be with

prejudice. See Cervantes v. Countrywide Home Loans, Inc., 656 F.3d 1034, 1041 (9th Cir. 2011)

(dismissal without leave to amend proper where “amendment would be futile”).




25
   Even if the Court finds that some part of the CUTSA Claims is not premised on a misappropriation
theory, each claim should still be dismissed “[t]o the extent Plaintiff[s] [are] relying on the same facts” as
a trade secret misappropriation claim. Genasys Inc. v. Vector Acoustics, LLC, 2023 WL 4414222, at *22
(S.D. Cal. July 7, 2023).
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Dated: February 8, 2024                      COOLEY LLP


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